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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                  SHREVEPORT DIVISION


  MAGNOLIA ISLAND PLANTATION L L C                      CASE NO. 5:18-CV-01526
  ET AL

  VERSUS                                                JUDGE S. MAURICE HICKS, JR.

  LUCKY FAMILY L L C ET AL                              MAGISTRATE JUDGE KAREN L.
                                                        HAYES

                                              ORDER

         Pending before the Court is plaintiff Barbara Lollar’s motion to compel production of

  communications between W.A. Lucky, III (“Mr. Lucky”) and Lucky Family, L.L.C. [doc. # 71].

  After reviewing the parties’ briefs, the Court determines that an in camera review of the documents

  at issue is necessary to assess Mr. Lucky’s assertions of privilege. Mr. Lucky is instructed to

  forward the documents to chambers for in camera review. Given that Mr. Lucky informed the

  court that the documents at issue have already been assembled into a binder, he is ordered to

  provide the documents to chambers by February 14, 2020.

         IT IS SO ORDERED

         In chambers, at Monroe, Louisiana, this 10th day of February 2020.



                                                       __________________________________
                                                       KAREN L. HAYES
                                                       UNITED STATES MAGISTRATE JUDGE
